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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )           8:06CR119
                    Plaintiff,            )
                                          )
       vs.                                )            ORDER
                                          )
SERGIO DE LA O-CEGUEDA,                   )
                                          )
                    Defendant.            )


       This matter is before the court on the motion of James Martin Davis to withdraw as

counsel for the defendant, Sergio De La O-Cegueda (Filing No. 79). The defendant’s

request for appointment of counsel is granted and Mr. Stuart Dornan is appointed to

represent the defendant. Mr. Davis’ motion to withdraw (Filing No. 79) is granted. Mr.

Davis shall forthwith provide Mr. Dornan with the discovery materials provided the

defendant by the government and such other materials obtained by Mr. Davis which are

material to Mr. De La O-Cegueda’s defense. The clerk shall provide a copy of this order

to the Federal Public Defender.

       Trial in this matter is rescheduled to February 12, 2007 at 8:30 a.m. The time

between January 16, 2007 and February 12, 2007 is deemed excludable under the Speedy

Trial Act.

       IT IS SO ORDERED.

       DATED this 17th day of January, 2007.

                                                BY THE COURT:



                                                s/Joseph F. Bataillon
                                                United States District Judge
